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                   EXHIBIT A
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                                                               IRO
                                       Harter Secrest & Emery LLP
                                           ATTORNEYS           AND   COUNSELORS

                                                          WWW.HSELAW.COM




     Mark R. Kercher, CPA
     5090 Old Goodrich Road
     Clarence, NY 14031


     File Number:            106915.000001


                         Please remit payment within 30 days from date of invoice

Kercher, CPA, Mark R.                                                                               Date:           07/29/24
RE: Kercher re Mott Receivership                                                                Invoice:            935117
Client Ref:
For Professional Services Rendered and Costs Advanced through 06/30/24

  Date            Atty               Professional Services                     Task Code              Hours                  Amount
06/01/24          NSG         Correspondence with M. Kercher                     B110                  0.10                   40.00
                              regarding revised draft monthly
                              report, real property sale.
06/02/24          NSG         Revise first application of M.                         B110                  0.90               360.00
                              Kercher for fees and expenses,
                              including A. Snowberger invoice
                              and services.
06/02/24          NSG         Correspondence with M. Kercher                         B110                  0.10                 40.00
                              regarding revised draft fee
                              application.
06/03/24          NSG         Correspondence with M. Kercher                         B110                  0.20                 80.00
                              regarding receiver's report, fee
                              application, financial information
                              exhibit.
06/03/24          NSG         Confer and correspondence with                         B110                  0.30               120.00
                              J. Horn regarding draft
                              receiver's report.
06/03/24          JGH         Review client's proposed edits                         B110                  0.40               190.00
                              to preliminary report with N.
                              Gatto.
06/03/24          JGH         Finalize activity report at                            B110                  2.20            1,045.00
                              request of M. Kercher.
06/03/24          NSG         Review Horn revised draft of                           B110                  0.40               160.00
                              receiver's report.
06/04/24          NSG         Prepare form of proposed order                         B110                  0.80               320.00

1600 BAUSCH AND LOMB PLACE    ROCHESTER, NEW YORK 14604-2711   PHONE: 585.232.6500     FAX: 585.232.2152     FED. TAX ID. NO. XX-XXXXXXX

                ROCHESTER, NEW YORK . BUFFALO, NEW YORK . ALBANY, NEW YORK . CORNING, NEW YORK . NEW YORK, NEW YORK
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Kercher, CPA, Mark R.                                           Client:       106915
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  Date       Atty           Professional Services       Task Code         Hours      Amount
                    for payment of Kercher
                    expenses and revise application
                    regarding same.
06/04/24    NSG     Confer and correspondence with        B110             0.40       160.00
                    M. Kercher regarding monthly
                    report, financial presentation,
                    finalizing receiver's report and
                    motion for payment of
                    expenses.
06/04/24     JGH    Work on fees application and          B110             0.50       237.50
                    activity report.
06/04/24     JGH    Strategize with N. Gatto re           B110             0.30       142.50
                    potential outcomes of activity
                    report.
06/04/24     JGH    Final edits to payment                B110             0.50       237.50
                    application and proposed order.
06/04/24    NSG     Review and revise financial           B110             0.50       200.00
                    statements from M. Kercher and
                    set up for exhibit to receiver's
                    report.
06/04/24    NSG     Correspondence and confer with        B110             0.80       320.00
                    J. Horn and T. Amplement
                    regarding finalizing for
                    receiver's report and expenses
                    motion, filing of both pleadings,
                    service of same.
06/04/24     TLA    Research filing options for           B110             1.70       382.50
                    Receiver's report and
                    application for fees and costs;
                    revise Receiver's report with
                    Exhibit A and Notice of Motion
                    for Application of Receiver
                    Compensation with Declaration
                    and Exhibits A-C in support of
                    same.
06/05/24    NSG     Correspondence with M. Kercher        B110             0.10        40.00
                    regarding his correspondence
                    with D. Rothenberg.
06/05/24    NSG     Call with M. Kercher and J. Horn      B110             0.60       240.00
                    regarding final discussion prior
                    to filing receiver's repo
06/05/24    NSG     Confer with J. Horn and T.            B110             0.10        40.00
                    Amplement regarding revisions
                    to papers to be filed.
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Kercher, CPA, Mark R.                                          Client:       106915
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  Date      Atty          Professional Services        Task Code         Hours      Amount
06/05/24    NSG    Correspondence with T.                B110             0.30       120.00
                   Amplement regarding notice of
                   motion, report exhibits and
                   revisions.
06/05/24    JGH    Multiple conversations with           B110             1.90       902.50
                   paralegal, N. Gatto, and M.
                   Kercher re financial presentation
                   exhibit to report, preliminary
                   activity report, and related
                   matters.
06/05/24    JGH    Calls with client regarding           B110             0.40       190.00
                   potential litigation and
                   insurance coverage questions.
06/05/24    NSG    Final review and comment to           B110             0.20        80.00
                   motion and report to be filed
                   today.
06/05/24    NSG    Correspondence and                    B110             0.40       160.00
                   conferences with J. Horn and T.
                   Amplement regarding revisions
                   to motion and report,
                   comments, filing procedures.
06/05/24    TLA    Revise Receivers Report and           B110             2.90       652.50
                   attached Exhibit A; revise
                   Notice of Motion for Application
                   for fees; discuss same with N.
                   Gatto and J. Horn; finalize and
                   file Receiver's Report with
                   Exhibit A and Motion for First
                   Application for Compensation.
06/06/24    NSG    Correspondence with D.                B110             0.10        40.00
                   Rothenberg regarding asset
                   recovery litigation.
06/06/24    JGH    Communicate with defendant's          B110             0.20        95.00
                   counsel at request of M. Kercher
                   to strategize re potential
                   recovery action(s).
06/06/24    NSG    Correspondence with J. Horn           B110             0.10        40.00
                   regarding his call with
                   Rothenbergs.
06/06/24    JGH    Call with D. and M. Rothenberg        B110             0.50       237.50
                   re potential funds-recovery
                   action.
06/06/24    JGH    Prepare update for client             B110             0.20        95.00
                   regarding potential fund-
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Kercher, CPA, Mark R.                                            Client:       106915
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  Date       Atty         Professional Services          Task Code         Hours      Amount
                    recovery action.
06/07/24    NSG     Review new Mott docket entries.        B110             0.10        40.00
06/08/24    NSG     Correspondence with M. Kercher         B110             0.20        80.00
                    and T. Fitzgerald regarding
                    Genesee Construction Services.
06/10/24    NSG     Correspondence with M. Kercher         B110             0.20        80.00
                    and J. Horn regarding
                    compensation order.
06/12/24    NSG     Correspondence and confer with         B110             0.30       120.00
                    M. Kercher and J. Horn
                    regarding Buffalo News article,
                    press requests.
06/12/24     JGH    Emails and texts with client re        B110             0.30       142.50
                    press coverage.
06/12/24     JGH    Strategize with client re PR           B110             0.30       142.50
                    considerations in light of Buffalo
                    News coverage of receiver's
                    report.
06/12/24    NSG     Confer and correspondence with         B110             0.20        80.00
                    J. Horn regarding Tucker
                    demand letter.
06/12/24     JGH    Stategize with N. Gatto re             B110             0.30       142.50
                    demand letter re Crescent
                    Beach.
06/12/24     JGH    Prepare email to M. Kercher re         B110             0.10        47.50
                    Crescent Beach demand letter.
06/13/24    NSG     Correspondence with J. Horn            B110             0.10        40.00
                    regarding new docket entries.
06/13/24    NSG     Review case docket as to new           B110             0.10        40.00
                    entries.
06/14/24    NSG     Confer with M. Kercher                 B110             0.20        80.00
                    regarding status of sale, motion
                    to dismiss, records.
06/14/24    NSG     Correspondence with J. Horn            B110             0.10        40.00
                    regarding motion to dismiss, our
                    fees and review of prebill.
06/14/24    NSG     Correspondence with M. Kercher         B110             0.20        80.00
                    and J. Horn regarding Five Star
                    Bank account statements.
06/14/24    NSG     Review motion to dismiss.              B110             0.20        80.00
06/14/24    JGH     Review motion to dismiss filed         B110             0.30       142.50
                    by defendants.
06/14/24     JGH    Call with M. Kercher re                B110             0.40       190.00
                    defendants' motion to dismiss
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  Date       Atty          Professional Services        Task Code         Hours      Amount
                    and related matters; coordinate
                    copying job.
06/14/24     JGH    Analyze and give direction re         B110             0.30       142.50
                    copy and scanning job
                    requested by M. Kercher.
06/17/24    NSG     Correspondence with M. Kercher        B110             0.20        80.00
                    and J. Horn regarding expense
                    applications.
06/18/24    NSG     Correspondence with M. Kercher        B110             0.20        80.00
                    and J. Horn regarding
                    preparation of next monthly
                    report.
06/19/24    NSG     Begin draft first fee application     B110             0.70       280.00
                    for HSE.
06/20/24    NSG     Continue draft fee application        B110             0.60       240.00
                    for HSE.
06/20/24    NSG     Review docket notices.                B110             0.10        40.00
06/20/24    NSG     Correspondence with T.                B110             0.20        80.00
                    Amplement and J. Horn
                    regarding Ridgement CC letter
                    to Judge Geraci.
06/20/24    NSG     Review Ridgemont CC letter.           B110             0.10        40.00
06/20/24    JGH     Conduct preliminary review of         B110             0.30       142.50
                    two motions to dismiss and
                    "letter motion" filed by
                    Ridgemont Country Club.
06/20/24    NSG     Discuss Ridgement CC letter           B110             0.10        40.00
                    with J. Horn.
06/20/24     TLA    Review motions to dismiss by          B110             0.40        90.00
                    defendants Harris and Pagano;
                    review letter filed by Ridgemont
                    Country Club; forward all to
                    client.
06/20/24     JGH    Discuss recently filed motions,       B110             0.30       142.50
                    and potential implications for
                    Receiver, with N. Gatto.
06/21/24    NSG     Correspondence with M. Karcher        B110             1.00       400.00
                    regarding incoming May time
                    records and fee application and
                    review Kercher time records for
                    May.
06/21/24     JGH    Review and respond to email           B110             0.30       142.50
                    from client regarding fee
                    application and activity report.
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  Date        Atty          Professional Services        Task Code          Hours       Amount
06/21/24      NSG     Begin draft HSE fee application.     B110              0.40        160.00
06/24/24      NSG     Correspondence with J. Horn          B110              0.20         80.00
                      regarding preparation of HSE
                      fee application.
06/24/24      NSG     Draft HSE fee application for         B110             2.50     1,000.00
                      May 2024.
06/25/24      NSG     Review and edit M. Kercher time       B110             0.60       240.00
                      entries and correspondence with
                      M. Kercher regarding same.
06/25/24      TLA     Review Order denying motion           B110             0.20        45.00
                      by Ridgemont Country Club and
                      forward same to client.
06/25/24      NSG     Begin Kercher form of May fee         B110             0.50       200.00
                      appliction.
06/27/24      TLA     Review motion to dismiss filed        B110             0.20        45.00
                      by defendant LaRocca and
                      corresponding text scheduling
                      order from the Court and
                      forward same to M. Kercher.
06/28/24      NSG     Draft M. Kercher May fee              B110             1.50       600.00
                      application.
06/28/24      NSG     Correspondence with M. Kercher        B110             0.30       120.00
                      regarding his May fee
                      application, backup materials.
                                        Total Hours and Fees                32.90   $12,965.00


              Attorney                                       Hours          Rate        Amount
              Amplement, Tracy L., Paralegal                  5.40     225.00          1,215.00
              Gatto, Nicholas S., Counsel                    17.50     400.00          7,000.00
              Horn, John G., Partner                         10.00     475.00          4,750.00
                                                         Total Current Fees         $12,965.00

                                                 Current Invoice Due                $12,965.00



Y-T-D Fees:               $30,365.00    /   Y-T-D Costs:                    $0.00
